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ADATE:. Uy &)% oom,

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA
Vv.

HOLY LAND FOUNDATION FOR
RELIEF AND DEVELOPMENT (1)
also known as the “HLF”

‘SHUKRI ABU BAKER (2) -

MOHAMMAD EL-MEZAIN (3)
GHASSAN ELASHI (4)
HAITHAM MAGHAWRI (5)
AKRAM MISHAL (6)

MUFID ABDULQADER (7)
ABDULRAHAM ODEH (8)

Defendants.

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NO. 304 CR 240 G

GOVERNMENT’S SUPPLEMENTAL, CLASSIFIED MEMORANDUM IN
OPPOSITION TO DEFENDANTS’ JOINT MOTION TO SUPPRESS EVIDENCE
OBTAINED OR DERIVED FROM FISA SURVEILLANCE, AND TO
DEFENDANTS’ JOINT MOTION TO COMPEL PRODUCTION OF FISA
APPLICATIONS, ORDERS, AND RELATED MATERIALS (U)

RICHARD B. ROPER

United States Attorney

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